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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


Damon Immediato, Stephen Levine,
and Eric Wickberg

               Plaintiffs

      v.                                               Civil Action No. 1:20-12308-RGS

Postmates, Inc.

               Defendant

                                ORDER OF DISMISSAL

                                   November 29, 2021

STEARNS, D.J.

      In accordance with the court’s Electronic Order [Dkt. # 27] entered on November

29, 2021, confirming the arbitrators’ judgments [Dkt. # 25-1, # 25-2, and # 25-3], it is

ORDERED that the above-entitled action be, and hereby is, dismissed.



                                                              By the court,

                                                              /s/ Arnold Pacho
                                                              Deputy Clerk
